                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          SOUTHERN DIVISION

                     CIVIL ACTION FILE NO.: 7:19-cv-89-BO

 NEIGHBORHOOD NETWORKS                      )
 PUBLISHING, LLC and N2                     )
 FRANCHISING, LLC,                          )
               Plaintiffs,                  )
                                            )          AFFIDAVIT OF
                     v.                     )       JACQUELINE M. LYLES
                                            )
 JACQUELINE MARIE LYLES and                 )
 LIFESTYLE PUBLICATIONS, LLC,               )
               Defendants.                  )


             Jacqueline M. Lyles, being first duly sworn, deposes and says:

             1.     I am over 18 years of age, I am not subject to any disability, and
I am fully able to make the statements set forth in this Affidavit.
             2.     The statements contained in this Affidavit are made of my own
volition and are true of my own personal knowledge, except as to those matters
stated on information and belief that I believe to be true.
             3.     From February 1, 2016, until August 1, 2018, I was an N2
franchisee and Area Director in Atlanta's Peachtree Battle community.
             4.     In my position as an N2 Area Director, I was given access to
N2's proprietary software systems, including N2 Portal and PubManager. These
systems allow Area Directors to, among other things, access detailed client
information, such as contact information and payment history. It was my
understanding that N2 created these software systems itself.
             5.     Before I could access these systems, N2 made me sign a
confidentiality agreement, which was part of my Franchise Agreement. This
confidentiality agreement said that I should keep the information contained on
these systems secret and not disclose the information to anyone. Attached as



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Exhibit A and incorporated herein by reference is a true and accurate copy of my
Franchise Agreement.
               6.     On August 31, 2018, I sold my N2 franchise rights to William
Craig O'Neal. I understood that, after I sold my N2 franchise, I was still required to
keep N2's information confidential. That included not telling anyone the
information that I learned from N2's systems.
               7.     On February 19, 2019, I became an independent contractor with
Lifestyle Publications S.E., LLC ("Lifestyle S.E."), a company affiliated with
Lifestyle Publications, LLC ("Lifestyle Publications"). Attached as Exhibit B and
incorporated herein by reference is a true and accurate copy of my Independent
Contractor Agreement with Lifestyle S.E., welcoming me to the "Lifestyle team."
Both James Newman and I signed my Independent Contractor Agreement.
               8.     Upon information and belief, James Newman of Lifestyle
Publications S.E., LLC knew that I had previously worked with N2 as a franchisee
and Area Director.
               9.     Lifestyle Publications and N2 are engaged in similar lines of
business both nationally and in the Atlanta, GA market, which is a fact I was aware
of at the time I began selling advertising for Lifestyle Publications.
               10.    In my capacity working with Lifestyle S.E. one of my main
responsibilities was to sell advertising for placement in the following community
publications owned by Lifestyle Publications, including BuckHaven Lifestyle,
Perimeter North Lifestyle, Johns Creek Lifestyle, and Alpharetta Lifestyle, and to
otherwise promote the business interests of Lifestyle Publications.
               11.    While working with Lifestyle S.E., Lifestyle Publications issued
me the email address jackie.lyles@lifestylepubs.com, which I used to solicit business and
advertising agreements on behalf of Lifestyle Publications.
               12.    When I was under contract with Lifestyle S.E., until at least late
March 2019, I used my unique N2 login credentials to access N2 Portal and
PubManager on multiple occasions. I did so out of curiosity to see how my former




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publications were doing. I did not re-type my login credentials, however. They were
stored on my computer, which was able to automatically connect.
              13.    Using N2 Portal while under contract with Lifestyle S.E. and
working to promote the interests of Lifestyle Publications, I accessed the client
details or ad lists for some of N2’s existing clients.
              14.    Using N2 Portal while under contract with Lifestyle S.E. and
working to promote the interests of Lifestyle Publications, I also accessed certain
recent unpaid ad lists out of curiosity to see how my former publication was doing.
              15.    Using PubManager while under contract with Lifestyle S.E. and
working to promote the interests of Lifestyle Publications, I searched for and viewed
the content and proofs for multiple N2 publications circulated in the Buckhead and
Peachtree Battle areas of Atlanta as a curiosity to see how they were doing.
              16.    I do not recall sharing information that I learned from the N2
Portal and PubManager with Lifestyle S.E.
              17.    In or around late March 2019, I began using a new computer
that did not have my N2 login credentials saved. I then tried to login to the N2
Portal or PubManager one or more times within a short window of time.
              18.    N2 terminated my access to N2 Portal and PubManager in or
around late March 2019.
              19.    In or around late March 2019, an employee of Cunningham
Associates, a hearing and air-conditioning company in the Atlanta area, visited our
house to work on our water heater. Afterwards, Bob Cunningham texted me and
asked how retirement was going. I replied that I was working for a new magazine.
Bob then asked me to meet with him. At that follow-up meeting, Bob asked me to
obtain a copy of his N2 ad—which had expired—because Cunningham Associates
could not find a copy in their records. I did not think this was improper, as I
understood that N2 customers owned their ads.
              20.    Around the same time that N2 deactivated my login credentials
and secure password, I sent an email to N2's support team. Attached as Exhibit C
and incorporated herein by reference is a true and accurate copy of the email that I


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